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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER and DAREN WADE                 No. 2:20-cv-13134
 RUBINGH,
                                             Hon. Linda V. Parker
             Plaintiffs,
   v.

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of
 Michigan, et al,

            Defendants,

  and

 CITY OF DETROIT, et al,

            Intervenor-Defendants.

         CITY OF DETROIT’S RESPONSE IN OPPOSITION
 TO PLAINTIFFS’ MOTION TO FILE AFFIDAVITS UNDER SEAL AND
                  FOR IN CAMERA REVIEW
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                    STATEMENT OF ISSUE PRESENTED

      Whether Plaintiffs should be permitted to file under seal certain unidentified

      affidavits and declarations where Plaintiffs have failed to overcome the strong

      presumption of openness as to court records?

            The City of Detroit answers: No.




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                  MOST CONTROLLING AUTHORITIES

Shane Grp., Inc. v. Blue Cross Blue Shield of Michigan,
   825 F.3d 299 (6th Cir. 2016)
E. D. Mich. LR 5.3




                                        ii
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                                   ARGUMENT

      As the late Judge Damon J. Keith wrote, “[d]emocracies die behind closed

doors.” Detroit Free Press v. Ashcroft, 303 F.3d 681, 683 (6th Cir. 2002). In this

case, Plaintiffs apparently seek to anonymously file supposed evidence of a broad

conspiracy to steal the 2020 presidential election. Such allegations should not be

permitted to be made anonymously and under seal in a public court case. Plaintiffs

have failed to even attempt to meet their heavy burden to justify filing certain

affidavits and declarations under seal, and their Motion should be denied.

      Procedurally, Plaintiffs have simply ignored this Court’s rules, as they have

done with other “emergency” motions filed over the last few days. Specifically, they

failed to include a brief (violating E. D. Mich. LR 7.1(d)(1)(A)); they failed to

provide a statement of the issues (violating E. D. Mich. LR 7.1(d)(2)); and they failed

to identify the controlling or most appropriate authority (violating E. D. Mich. LR

7.1(d)(2)).

      With regard to sealing, Plaintiffs generically refer to “Local Rules 5.3 and

65.1,” but provide no actual legal argument as to why these documents should be

filed under seal. E. D. Mich. LR 65.1 relates only to motions for temporary

restraining orders and for preliminary injunctions – it has absolutely nothing to do

with motions to file documents under seal. E D. Mich. 5.3 relates to sealing, but




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Plaintiffs simply ignore the actual language of the Rule and instead continue to rant

baselessly about “ballot fraud and illegality.” Motion, ECF No. 8, PageID.1851.

      E. D. Mich. 5.3, which was revised in 2018 to comport with Shane Grp., Inc.

v. Blue Cross Blue Shield of Michigan, 825 F.3d 299 (6th Cir. 2016), provides very

specific requirements for a party seeking to file materials under seal. Plaintiffs failed

to comply with most of them. In Shane, the Sixth Circuit provided the standard for

the sealing of documents, noting that the party seeking to seal documents has a

“heavy” burden; “[o]nly the most compelling reasons can justify non-disclosure of

judicial records.” Id. at 305. (citation and quotation marks omitted). Further, “[t]he

public has an interest in ascertaining what evidence and records [courts rely] upon

in reaching [their] decisions.” Id.

      In a motion to file under seal, a party must provide “an index of documents

which are proposed for sealing…,” (E. D. Mich. 5.3(b)(3)(A)(i)), provide “a

description of any non-party or third-party privacy interests that may be affected if

the documents or portions thereof to be sealed were publicly disclosed on the court

record,” (E. D. Mich. 5.3(b)(3)(A)(ii)), provide “a detailed analysis with supporting

evidence and legal citations, demonstrating that the request to seal satisfies

controlling legal authority,” (E. D. Mich. 5.3(b)(3)(A)(iv), and file a redacted

version (publicly, attached to the motion to seal as an exhibit) and an unredacted

version (under seal) of the proposed sealed documents. (E. D. Mich. 5.3(b)(3)(A)(v-



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vi)). In this case, Plaintiffs have not provided an index of documents identifying the

documents proposed for sealing, nor have they filed a redacted version as an exhibit

to the motion, along with an unredacted version under seal. Rather, they refer back

to “affidavits” filed with their Complaint and Amended Complaint, without

providing any other identifying information about these documents. Plaintiffs have

also failed to provide a detailed description of the privacy interests at issue here,

instead vaguely stating the “privacy and personal and financial security interests of

the witnesses are at grave risk of harm if their identities were disclosed.” ECF No.

8, PageID.1853. The Comments to the 2018 amendments to E. D. Mich. 5.3 state:

      Attorneys are cautioned that there is a strong presumption in favor of
      openness as to court records. The burden of overcoming this
      presumption is borne by the party that seeks to seal documents on the
      court record. The burden is a heavy one and only the most compelling
      reasons can justify non-disclosure of judicial records.

“The proponent of sealing…must analyze in detail, document by document, the

propriety of secrecy, providing reasons and legal citations.” Shane, 825 F.3d at 305-

06 (citation and quotation marks omitted). Despite having the burden to do so,

Plaintiffs do not cite to any evidence in support of these unfounded concerns. They

also fail to provide any authority whatsoever in support of sealing any materials.1


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        Not only do Plaintiffs seek to keep this material from public view; they do
not even want Defendants’ counsel to see the materials, requesting an in camera
review. This is, of course, absurd. Plaintiffs believe they should be able to make wild
accusations against Defendants, but do so anonymously, only providing the
unredacted information to the Court. This should not be permitted.

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        The public has a right to know exactly who is making these allegations of a

stolen presidential election and exactly what they are saying, to be certain that these

allegations can be properly understood and subjected to full scrutiny. It is difficult

to think of any materials in any other court case that could be more relevant to the

public than the materials in this case. Plaintiffs’ motion should be denied, and

Plaintiffs should be required to publicly file all redacted documents in unredacted

form.

                                                   Respectfully submitted,

 December 2, 2020                                  FINK BRESSACK

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                          CERTIFICATE OF SERVICE

      I hereby certify that on December 2, 2020, I electronically filed the foregoing

paper with the Clerk of the court using the electronic filing system, which sends

notice to all counsel of record.

                                      FINK BRESSACK

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